














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


				




NO. PD-1443-11





TODD WARREN ALTSCHUL, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE FOURTEENTH COURT OF APPEALS

BRAZORIA COUNTY





	Per curiam.  Keasler and Hervey, JJ., dissent. 


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 9.3(b)
because the original petition is not accompanied by 11 copies.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the COURT OF CRIMINAL APPEALS within thirty days after the date of this
order.



Filed: January 11, 2012

Do Not Publish


